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The following constitutes the ruling of the court and has the force and effect therein described.



Signed October 2, 2019
                                           United States Bankruptcy Judge
______________________________________________________________________




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE NORTHERN DISTRICT OF TEXAS
                                             FORT WORTH DIVISION

         In re:                                                   )
                                                                  )
         TENET CONCEPTS, LLC,                                     )        Case No. 18-40270-elm-11
                                                                  )
                                 Reorganized Debtor.              )        Chapter 11 Case
                                                                  )

                          FINAL DECREE CLOSING CHAPTER 11 CASE PURSUANT
                        TO SECTION 350 OF THE BANKRUPTCY CODE AND RULE 3022
                          OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

                  Upon the Motion (the “Motion”)1 dated August 21, 2019, filed by Tenet Concepts, LLC (the

     “Debtor”) for entry of a Final Decree closing this chapter 11 case [Docket No. 316]; and it

     appearing that this Court has jurisdiction to consider the motion and the relief requested therein

     in accordance with 28 U.S.C. §§ 157 and 1334; and it appearing that this matter is a core

     proceeding within the meaning of 28 U.S.C. § 157(b); and it appearing that venue of this

     proceeding and the Motion is proper in this district in accordance with 28 U.S.C. §§ 1408 and



     1   Capitalized terms used herein and not otherwise defined shall have the meanings ascribed to them in the Motion.
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1409; and it appearing that the Debtor’s estate is being administered as contemplated by section

350(a) of the Bankruptcy Code and by Bankruptcy Rule 3022; and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED that the Motion is GRANTED; and it is further

          ORDERED that the Debtor’s bankruptcy case is hereby closed; and it further

          ORDERED that the Debtor shall pay all outstanding fees to the United States Trustee, if

any, on or before their regular due date as established by the United States Trustee’s procedures;

and it is further

          ORDERED that this Court shall retain jurisdiction over any and all matters arising from or

related to the implementation or interpretation of this Order.

                                                   ### End of Order ###




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Final Decree                                                                                              Page 2
